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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS


LORA PATTERSON,                              )
                                             )
              Plaintiff,                     )
vs.                                          )       Case No.
                                             )
PAUL BABB; and                               )
LEE EDENS CATTLE, LLC                        )
                                             )
              Defendants.                    )
                                             )


                                            COMPLAINT

       COMES NOW the plaintiff, by and through counsel, Christopher J. Omlid and Richard W.

James of DeVaughn James Injury Lawyers, state and allege the following against defendants Paul

Babb and Lee Edens Cattle, LLC.

                                           A.      PARTIES

       1.     Plaintiff Lora Patterson is an Oklahoma resident and citizen who resides at 4408

              Greenwood Ave., Spencer, OK 73084.

       2.     Defendant Paul Babb resides at 1343 Higgins Trail, Pontotoc, MS 38863, and may

              be served at that address.

       3.     Defendant Lee Edens Cattle, LLC is a foreign “for profit” limited liability company

              organized under the State of Mississippi. It is registered to do business in the State

              of Kansas and may be served through its registered agent, Lee Edens at 30203

              Highway 41 East, Okolona, MS 38860.

                                B.     JURISDICTION AND VENUE

       4.     This Court has jurisdiction over the parties and the subject matter

       5.     Venue is proper in the Wichita division of the Kansas District Court of the Federal

              District Court.
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6.    This collision took place in Clark County, Kansas on October 12, 2016.

7.    This action is brought pursuant to 28 U.S.C. 1332 (a) on the basis of diversity of

      citizenship. The matter is in excess of the sum of Seventy-Five Thousand dollars

      ($75,000) exclusive of interests and costs.

                            C.      NATURE OF ACTION

8.    This is a personal injury action arising out of a single semi-trailer truck collision in

      which the Plaintiff was a passenger and Paul Babb was driving for Lee Eden’s

      Cattle, LLC.

       D.      ALLEGATIONS OF NEGLICENCE AND NEGLIGENC PER SE.

8.    At all times relevant herein, Paul Babb was an employee and/or agent of Lee

      Eden’s Cattle, LLC., and was operating in the course and scope of his

      employment with Lee Eden’s Cattle, LLC.

9.    Lee Eden’s Cattle, LLC. is a motor carrier and operating under authority through

      the United States Department of Transportation with an assigned D.O.T. number

      of 1412853.

10.   The semi-trailer truck being operated by Paul Babb was owned, maintained,

      dispatched, supervised, controlled and repaired by Lee Eden’s Cattle, LLC. and

      was used as a commercial motor vehicle in both intrastate and interstate business

      making it subject to the Federal Motor Carrier Safety Administration regulations

      under 49 C.F.R. Sections 381 et. Seq.

11.   Paul Babb was hired, qualified, supervised, and trained by Lee Eden’s Cattle,

      LLC.




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12.    49 C.F.R. § 390.3(e)(1) & (2) provide that every driver and employee shall be

       instructed regarding and shall comply with all applicable regulations contained in

       the FMCSR.

13.    49 C.F.R. § 390.5 provides that "motor carrier" means a for-hire motor carrier or a

       private motor carrier. That term includes a motor carrier's agents, officers, and

       representatives as well as employees responsible for hiring, supervising, training,

       assigning, or dispatching of drivers.

14.    Lee Eden’s Cattle, LLC. were at all material times a "motor carrier" and an

       "employer" of its driver Paul Babb in regard to the operation of a commercial

       motor vehicle as defined in 49 C.F.R. §382.107.

15.    On or about October 12, 2016, at approximately 8:03 a.m., Paul Babb was

       operating the Lee Eden’s Cattle, LLC’s. semi-trailer truck in the course and scope

       of employment for Lee Eden’s Cattle, LLC.

16.    At all times relevant herein, Paul Babb was traveling east on highway 160 with

       Plaintiff as his passenger. Paul Babb lost control of the semi-trailer truck and

       caused the truck to flip onto its side.

17.    The actions and omissions of Paul Babb and Lee Eden’s Cattle, LLC. (both

       independently and through its driver Paul Babb under Respondent Superior and

       Vicarious Liability) were negligent, careless, and negligent per se for the

       following reasons:


A. Failure to keep a proper lookout;

B. Failure to be attentive;

C. Failure to exercise ordinary care; and,

D. Operation of a commercial motor vehicle in a reckless or careless manner.
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       18.     The negligence Lee Eden’s Cattle, LLC. and their employee/agent Paul Babb

               proximately caused the collision and the personal injuries and damages of

               Plaintiff.


       19.     As a result of Lee Eden’s Cattle, LLC.’s and Paul Babb’s negligence and

               negligence per se, Plaintiff sustained severe personal injuries. Plaintiff has

               sustained past medical expenses, future medical expenses, past lost wages,

               medical mileage, and past and future non-economic damages such as pain,

               suffering and mental anguish.


       WHEREFORE, Plaintiff requests judgment against defendant for an amount in excess of

$75,000 plus costs and any further relief this Court deems fair, just and equitable.


                                      Respectfully submitted,

                                      DeVaughn James Injury Lawyers

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             DEMAND FOR PRETRIAL CONFERENCE AND JURY TRIAL

COMES NOW the plaintiffs and demands a pretrial conference and a trial by jury.




                            DESIGNATION OF PLACE OF TRIAL
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COMES NOW the plaintiffs and designates Wichita, Kansas as the place for trial in this matter.



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